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                                                      THE HONORABLE RICHARD A. JONES




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE

                                                   No. 2:20-cv-00887-RAJ
BLACK LIVES MATTER
SEATTLE-KING COUNTY, ABIE                          DECLARATION OF YVETTE
EKENEZAR, SHARON SAKAMOTO,                         SIERRA-VIGNAU IN SUPPORT OF
MURACO KYASHNA-TOCHA,                              PLAINTIFFS’ MOTION TO SHOW CAUSE
ALEXANDER WOLDEAB, NATHALIE
GRAHAM, AND ALEXANDRA CHEN,

                        Plaintiffs,

         v.

CITY OF SEATTLE,

                        Defendant.


         I, Yvette Sierra-Vignau, declare and state as follows:

         1.     The information contained in this declaration is true and correct to the best of my

knowledge, and I am of majority age and competent to testify about the matters set forth herein.

         2.     I am a Seattle resident. As a Chicanx and first-generation American, I felt called

to join the movement against police brutality, which was necessitated by centuries of systemic




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oppression and violence against Black people and sparked by the murder of George Floyd by

Minneapolis Police. I attended multiple protests between May 31, 2020 and July 25, 2020.

          3.    I am a healthcare worker and am certified in First Aid / CPR / AED. I am a

medical assistant in an ophthalmology clinic in downtown Seattle.

          4.    I have not attended the protests in clothing readily identifying myself as a medic,

in part because I have seen medics targeted by SPD and partially because I have felt compelled

to remain as close to the front-facing line as possible. However, I have consistently brought my

own first aid kit to the protests. I often act as a first-responder, providing first aid until one of the

more qualified medics—who are often on the sideline or scattered throughout the crowd—can

arrive.

          5.    I have witnessed SPD targeting wounded protesters on multiple occasions. For

example, on June 1, 2020, I came to the aid of a protester who fell onto the ground after being hit

on the leg with a rubber-coated steel bullet. They were blinded from all the tear gas in the air

and could not stand on their own. After helping them move to the sidewalk so I could attempt to

irrigate and wrap their wound, we were both shot at by SPD with what appeared to be rubber

bullets and targeted with tear gas canisters, one of which exploded right next to us.

          6.    I have been the victim of targeted and unprovoked violence by SPD prior to July

25, 2020. For example, on July 1, 2020, after hours of protesting, I began to leave with a group

of three others. As we were walking away from the intersection on Pine and Broadway, SPD

threw projectiles over the remaining protesters directly in front of them, and in our direction.




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One of the projectiles landed by the curb directly next to us, in front of the Walgreens storefront,

which was across the intersection from where the officers were standing. It exploded next to our

feet as we were walking away.

         7.    I attended the protest in Capitol Hill on July 25, 2020. At around 4:30 p.m., we

were slowly marching towards the end of the protest at Cal Anderson, where the demonstration

was set to disperse. SPD attacked our group of approximately 1,000-2,000 protesters. I did not

hear a dispersal order or announcement and neither did the people near me. SPD’s attack

seemed unprovoked and coordinated.

         8.    After witnessing police attacks at previous protests, I had brought a gas mask,

helmet, and heat resistant gloves in my backpack on July 25. I did not have time to put any of

this protective equipment on because SPD attacked so quickly. I am a healthcare worker, so I

was wearing an N-95 mask for personal protection from COVID-19.

         9.    Prior to the attack, I had noticed police officers on rooftops above Pine,

aiming what looked like guns at protesters.​ I did not see any officer besides those on the

rooftops above us.

         10.   As I was walking along Pine, less than a block away from Cal Anderson, I

heard several flash bang grenades go off all around me and in quick succession. I was hit

directly on the top of my left foot with a projectile that exploded on impact.

         11.   Although I was wearing thick leather boots, I felt sudden and extreme pain

along the top of my foot as soon as the projectile landed on top of it. The simultaneous




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explosion caused me to lose my balance and the sudden influx of pepper spray all around

me left me briefly disoriented. Putting any weight on my injured foot was very painful.

         12.   I limped behind a nearby bus shelter and ducked down next to one of the cars

parked next to Cal Anderson. I had no idea which direction the projectiles were coming from,

since at that point I still hadn’t seen any police officers on the ground. I stayed hidden long

enough to put on my helmet and gloves. The air was already so thick with pepper spray and gas

that I did not have time to put on my gas mask.

         13.   I also had a leaf blower in my bag. I took it out of my bag and limped back

towards the group of protesters on Pine, between 11th and 12th Avenues. Eventually, I stepped

away to drink water and change into my gas mask since the chemical irritants had seeped

through my N95 mask and I had started coughing uncontrollably.

         14.   For the next several hours, SPD deployed projectiles and chemical irritants

directly at whoever was nearby, including the group of live streamers and corporate media

off to the right of the front-facing line, and legal observers who were stationed on the left

side and throughout the crowd. The media and legal observers were all clearly identifiable.

I saw them target the media and live streamers with what appeared to be pepper spray

containing blue dye, which was a different color than what they seemed to be using on the

rest of the protesters. At one point, SPD attacked one of the live streamers next to me,

pepper spraying him directly in the face and the phone he was using to record from less




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than 10 feet away multiple times in quick succession, as he was backing away from the

officers.

         15.   At around 5:30 p.m., I was hit by another projectile directly on the left knee. At

that point, there was a gap of about 20 feet between the officers and the line of the closest

protesters. I stepped forward to blow away the chemical irritants from a canister with my leaf

blower. I was about 30 feet from SPD. While I was there, SPD threw a projectile directly at me.

It hit me on the knee, bounced onto the ground, and exploded. Not long after, the battery in my

leaf blower died, so I stepped away into an adjacent parking lot to put the leaf blower away.

While I was there, I briefly removed my gas mask to drink water. Even though I was far enough

away from the line of officers that I could no longer see them, the air was so thick with chemical

irritants that my gas mask quickly filled with pepper spray, so that when I put it back on it was

difficult for me to breathe.

         16.   Around 7:00 p.m., during one of SPD’s pushes, they corralled us down a side

street towards Olive. We were backing up and complying with their orders. The entire time,

they kept pushing us with their bikes and then would suddenly break formation and charge at us.

There were so many bodies there, that those of us who had been on the front-facing line and

were therefore closest to SPD had no way of going faster and nowhere else to go.

         17.   SPD advanced as a wall and would push quickly, faster than the crowd could

safely move. Officers shoved retreating protestors with their bikes, pulled away any

umbrellas and protective shields within their reach, and indiscriminately dragged people




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onto the ground and violently arrested them. At one point, I tried to turn away from SPD

in order to comply with their directive to walk faster. This was difficult to do because

walking on an injured foot and knee made each step agonizing, and with so many bodies

pressed in around and behind me my movement was extremely limited. As I slowly turned

away, one of the officers swung his bike at me and used the tire to knock me off my feet.​ I

was pulled by other protestors back into the crowd and away from the advancing line of officers,

but I struggled to stand back up. ​I was terrified that I would be trampled.​ ​The actions of the

officers very easily could have started a stampede.​ After months of protests, during which

I’ve experienced and witnessed multiple unprovoked and violent attacks by SPD, this was the

most afraid I’ve been so far. ​I genuinely thought I might die.

         18.   I started to have a panic attack. I began hyperventilating and dry heaving and

wanted to take off my gas mask. I knew from experience that removing the mask would assuage

the symptoms of a panic attack, but was unable to do so due to the residual chemical irritants in

the air. My foot and knee were becoming more painful with each step and I had difficulty

walking. I wanted to leave the crowd at this point, but I had to stay with the crowd of protesters

because I was afraid that if I broke away from them I would be targeted by SPD. I stayed with

the group until a friend could pick me up, about 30 minutes later. I left around 7:30 p.m.

         19.   The next day, I reached out to my doctor because my toe and the top of my foot

was purple, swollen, and painful. True and correct photos of my toe and knee, taken on July 26

are attached as ​Exhibits A-B.​ I had an X-Ray performed on Tuesday and met with my doctor on




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Wednesday. Attached as ​Exhibit C​ is a true and accurate copy of the X-Ray taken of my foot on

Tuesday, July 28. I have not been able to work since Saturday’s protest due to pain and

difficulty walking.

         20.   My doctor informed me that my toe is broken, and that the location of the

fracture shows that it was broken by an object hitting it from above.​ He explained that the

bone would have broken in another specific way if the impact had been from the side of my foot.

My doctor also diagnosed me with Menorrhagia​, since I have started having heavy, irregular

periods for the past two months, despite the fact that I have had an IUD for two years. Prior to

the protests this summer, I had experienced regular and consistent periods because of the IUD.

He told me that my Menorrhagia could be the result of stress or from chemical exposure​.

         21.   Attached as ​Exhibit D​ is a true and accurate copy of my medical report.

         22.   I haven’t been able to return to the protests this week because I haven’t been able

to walk without pain.

         23.   Since being attacked by SPD, I have experienced an upswing in C-PTSD

symptoms. This is a condition for which I have been receiving professional treatment for over a

year and a half, and I had been declared by my mental health provider as “in recovery from

C-PTSD” prior to the protests this summer. My symptoms have returned swiftly and

exponentially since witnessing frequent and consistent violence from SPD over the last two

months. It is difficult for me to fall asleep or stay asleep, and I often have nightmares that I am

being chased or shot at. I have experienced a heightened sensitivity to sound, temperature,




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smells, and lighting. I am more easily startled, feeling anxious and jumping at any unexpected

noise or touch. I have experienced an upswing in my chronic shortness of breath and shallow

breathing, which has been aggravated by my asthma. This is noticeably worse on the days

following tear gas and pepper spray exposure and is compounded by wearing a surgical mask for

10 hours a day as a healthcare worker. I have started to experience bouts of physical numbness

along my body, more frequent panic attacks, and daily flashbacks. The flashbacks are

disorienting and are both auditory and visual in nature, with intrusive memories of SPD

deploying flashbang grenades and rubber-coated steel bullets at protesters, and protesters

screaming in fear and pain.




         Executed this 3rd day of August 2020 at Seattle, Washington.

         I declare under penalty of perjury under the laws of the United States and the State of

Washington that the foregoing is true and correct.



                                                                  By:________________________

                                                                              Yvette Sierra-Vignau



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